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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                               :
CATHERINE McLAUGHLIN; ROBERT :
JACOB; CHELSEA STEALS; JANICE :
BOYER; and LOUISE YOUNT,       :
                               :
                   Plaintiffs, :
                               :
              v.               : Civil Action No. _____________
                               :
BOROUGH OF CONWAY,             :
PENNSYLVANIA ,                 :
                               :
                   Defendant.  :
                               :

                                   COMPLAINT

I.    Introduction

      1.     Plaintiffs, residents of the Borough of Conway who have

disabilities that substantially limit their ability to walk, bring this lawsuit to

challenge the Borough’s refusal to permit residents with mobility disabilities

to secure designated, reserved, accessible parking spaces near their

homes and its planned removal of the reserved, accessible parking spaces

it had previously authorized for Plaintiffs.

      2.     Absent designated parking spaces reserved for people with

disabilities on the street in front of their homes, Plaintiffs cannot
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meaningfully enjoy the benefits of the Borough’s on-street parking program

and services due to their limited ability to walk.

       3.    The Borough of Conway’s policies and practices that foreclose

the Plaintiffs from securing and maintaining designated, reserved,

accessible parking space for persons with disabilities near their homes

violate Title II of the Americans with Disabilities Act (“ADA”).

       4.    Plaintiffs seek appropriate declaratory and injunctive relief to

end Defendant’s violations of the ADA.

II.    Jurisdiction and Venue

       5.    This Court has jurisdiction over this action pursuant to 28

U.S.C. §§ 1331, 1343(a)(3), and 1343(a)(4).

       6.    Plaintiffs’ claims are authorized by 42 U.S.C. §§ 1983 and

12133 and 28 U.S.C. §§ 2201 and 2202.

       7.    Venue is appropriate in this district pursuant to 28 U.S.C. §§

1391(b)-(c) since Defendant operates and performs its official duties in this

district and because all of the events that gave rise to this Complaint

occurred in this district.

III.   Parties

       8.    Plaintiff Catherine McLaughlin is a 64-year-old resident of the

Borough of Conway, Pennsylvania.


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      9.    Plaintiff Robert Jacob is a 73-year-old resident of the Borough

of Conway, Pennsylvania.

      10.   Plaintiff Chelsea Steals is a 44-year-old resident of the Borough

of Conway, Pennsylvania.

      11.   Plaintiff Janice Boyer is a 60-year-old resident of the Borough

of Conway, Pennsylvania.

      12.   Plaintiff Louise Yount is a 70-year-old resident of the Borough

of Conway, Pennsylvania.

      13.   Defendant Borough of Conway (“Conway” or “the Borough”) is

a political subdivision of the Commonwealth of Pennsylvania located in

Beaver County, Pennsylvania.

IV.   Factual Background

      A.    Plaintiffs’ Need for Designated, Reserved
            Accessible Parking Spaces

            1.   Plaintiff Catherine McLaughlin

      14.   Plaintiff Catherine McLaughlin has lymphedema, a disorder that

results in swelling of her legs due to a blockage in her lymphatic system,

and diabetes, which causes poor circulation in her legs affecting her

circulatory and endocrine systems.

      15.   Ms. McLaughlin’s lymphedema substantially limits her ability to

walk. Ms. McLaughlin must use a cane to walk safely and, even with a
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cane, she experiences pain and exacerbation of her edema when walking

any distance at all, and she cannot walk more than approximately 10-15

feet without stopping to rest. She also has substantial difficulty walking any

distance on slopes or uneven terrain and climbing stairs.

         16.   Due to her disability, Ms. McLaughlin applied to the Pennsyl-

vania Department of Transportation (PennDOT) to secure a person with a

disability parking placard. PennDOT granted her request and issued her a

person with a disability parking placard in approximately August or

September of 2008.

         17.   Ms. McLaughlin has a car, which she uses approximately once

daily to travel to medical appointments, the grocery store, church, family

functions, and generally participate in community life. Ms. McLaughlin also

uses her car to transport her husband, who has an illness, to medical

appointments or the hospital.

         18.   Ms. McLaughlin lives in a single-family house on 4th Avenue in

Conway. She has lived there for 42 years and wants to continue to live

there.

         19.   The Borough permits on-street public parking along the same

side of the street where Ms. McLaughlin lives, but, in the absence of




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designated parking spaces, parking is available on a first-come, first-served

basis.

      20.    Ms. McLaughlin’s home has a garage, but to access it she must

walk down the sidewalk leading to 10 steep steps at the rear of her home, a

distance of approximately 150 feet on sloping and uneven terrain. Due to

her disability and the distance between her house and the garage, it would

take her about 15 to 20 minutes to reach her car if she parked there.

Traveling to the garage from her home causes Ms. McLaughlin severe pain

and exacerbates her edema.

      21.    Ms. McLaughlin must only walk approximately 10 feet from her

front door and then up four steps to reach the parking space in front of her

house, which is shorter and less challenging than walking to her garage

and causes her much less pain.

      22.    If Ms. McLaughlin parks in front of her house, she can reach

her car with much less pain and difficulty than if she parks in her garage.

      23.    Without a designated, reserved, accessible parking space, Ms.

McLaughlin might not be able to park in front of her home, requiring her to

walk a longer distance with more steps in order to reach her car. A

designated parking space in front of her home lessens Ms. McLaughlin’s

pain associated with her disability, limits exacerbation of her edema that


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she experiences when she walks, and is a safer distance for her to traverse

and, concomitantly, facilitates her ability to travel independently and access

the community.

            2.    Plaintiff Robert Jacob

      24.   Plaintiff Robert Jacob has venous stasis, diabetes, and ulcers,

impairments that substantially limit his ability to walk.

      25.   In order to safely ambulate, Reverend Jacob uses a cane and

has used a wheelchair in the past. Reverend Jacob’s doctor advised him

that a fall could be deadly for him, so he uses care in walking, avoiding

steep grades and stairs whenever possible.

      26.   Reverend Jacob’s disabilities cause swelling in his ankles and

feet and pain that can be so severe it often keeps him from sleeping.

      27.   Due to his disabilities, Reverend Jacob applied to PennDOT to

secure a person with a disability parking placard in 2007. PennDOT

granted his request in 2007 and he received and still has a person with a

disability parking placard.

      28.   Reverend Jacob has a car, which he uses for transportation to

and from medical appointments and for community activities.

      29.   Reverend Jacob lives in a home he owns on 4th Avenue in

Conway. He has lived there since 1991.


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      30.     Due to his disabilities, Reverend Jacob had a ramp with a

handrail installed to allow safe access from his front door to the street in

front of his home.

      31.     If Reverend Jacob is not able to park in front of his home, he

must walk down a steep hill or traverse broken sidewalks for a long

distance to access other parking.

      32.     The Borough permits on-street public parking along the same

side of the street where Reverend Jacob lives. Parking on his street is

used by residents as well as their guests and visitors to local sporting

events.

      33.     In the absence of a designated, reserved, accessible parking

space Reverend Jacob risks not being able to park close enough to his

home to use his car since parking on his street is permitted on a first-come,

first-served basis and he has difficulty walking without risk of falling.

              3.    Plaintiff Chelsea Steals

      34.     Plaintiff Chelsea Steals has fibromyalgia, degenerative disc

disease, and arthritis.

      35.     Plaintiff Steals’ disabilities substantially limit her ability to walk.

Ms. Steals cannot walk without experiencing severe pain and, as a result,

limits her walking. At work, for instance, she remains mostly seated at her


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desk and aggregates any tasks that require walking so she can complete

them all at once.

      36.   Due to her disability, Ms. Steals applied to PennDOT to secure

a person with a disability parking placard. PennDOT granted her request

and issued her a person with a disability parking placard several years ago.

      37.   Ms. Steals has a car, which she uses on weekdays to travel to

and from work as well as for medical appointments, grocery shopping, and

community activities.

      38.   Ms. Steals lives in a house on 4th Avenue in Conway. She has

lived there for approximately 10 years.

      39.   The Borough permits on-street public parking along the same

side of the street where Ms. Steals lives, but, in the absence of designated

parking spaces, parking is available on a first-come, first-served basis.

      40.   Ms. Steals’ home has a detached garage, but it is located

behind her home and down a steep incline which is very difficult for her to

safely reach without enduring substantial pain.

      41.   If Ms. Steals is able to park in front of her home, she can reach

her car more easily and with much less difficulty and pain than if she must

park in her garage.




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        42.   Without a designated, reserved, accessible parking space, Ms.

Steals might not be able to park in front of her home, requiring her to park

her car at a distance that she cannot safely reach without difficulty and

pain.

              4.      Plaintiff Janice Boyer

        43.   Plaintiff Janice Boyer has stenosis and arthritis of her back and

spine, arthritis in both knees necessitating replacement of her right knee

and limiting use of both, arthritis in her hips, and a history of herniated discs

in her neck requiring surgery and limiting how much she can turn her head.

        44.   Ms. Boyer’s impairments substantially limit her ability to walk.

She must sometimes use a cane to walk. Even with a cane, she has great

difficulty walking any distance over slopes and uneven terrain and walking

long distances over a flat, smooth surface. When she must walk on a

slope, she experiences pain and swelling that can last for hours and she is

at risk of falling.

        45.   Due to her disabilities, Ms. Boyer applied to PennDOT to

secure a person with a disability parking license plate for her car and a

person with a disability parking placard for her SUV. PennDOT granted

those requests in or around March 2006.




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      46.     Ms. Boyer uses her SUV most of the time, rather than her car,

because it is easier for her to enter and exit. She uses her vehicle to

commute to work on weekdays as well as for errands and other community

activities.

      47.     Ms. Boyer lives in a single-family home on 4th Avenue in

Conway. She has lived there for 27 years.

      48.     The Borough permits on-street public parking along the street in

front of Ms. Boyer’s home, but, in the absence of a designated parking

space, parking is available on a first-come, first-served basis.

      49.     Ms. Boyer’s house has an old garage in the back that is not big

enough to park her SUV and a grassy area near the garage that would

require costly modifications to use as a regular parking area. Moreover, to

access the garage or grassy area would require Ms. Boyer to walk a

distance of approximately 150 feet down two steep grades with no sidewalk

or railing. Ms. Boyer would experience severe pain and swelling and risk

falling if she had to use the garage or grassy area to park her vehicle.

      50.     Ms. Boyer must only walk about 35 feet on paved, level ground

and up three steps to reach the parking space in front of her house, which

she can do with much less pain, difficulty, and risk than if she had to park in

the garage or grassy area at the back of her house.


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      51.   Without a designated, reserved, accessible parking space, Ms.

Boyer might not be able to park in front of her home, requiring her to walk

long distances over uneven terrain, endure pain and swelling, and risk

falling to get to and from her vehicle to travel to work and elsewhere and

participate in community life.

            5.    Plaintiff Louise Yount

      52.   Plaintiff Louise Yount has chronic back pain, sciatica, spinal

stenosis, neuropathy of her right foot, nerve damage, and a history of

herniated discs and dislocation of her sacroiliac joint.

      53.   Ms. Yount’s disabilities substantially limit her ability to walk.

She must use a cane to walk. Even using a cane, walking exacerbates her

pain, sometimes to the point where she must stop and sit or lie down. Due

to her disabilities, Ms. Yount lacks sensation in her foot requiring her to use

great care when she walks so that she does not stumble. In addition, her

nerve damage causes her to experience urinary incontinence when her

back pain is exacerbated by, for instance, walking.

      54.   Due to her disability, Ms. Yount applied to PennDOT to secure

a person with a disability parking placard in or around 2009 or 2011.

PennDOT granted her request shortly thereafter and issued her a person

with a disability parking placard.


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      55.       Ms. Yount has a car, which she uses several times weekly to

travel to medical appointments, shop, attend church, and generally

participate in community life. Ms. Yount also uses her car to transport her

husband and her 94-year-old mother, who lives with her and her husband

and does not drive. Both Ms. Yount’s husband and mother have mobility

disabilities and have received PennDOT parking placards for people with

disabilities.

      56.       Ms. Yount lives in a single-family house on 2nd Avenue in

Conway. She has lived there for 69 years, nearly her entire life.

      57.       The Borough permits parking on one side of the street where

Ms. Yount lives, but, in the absence of designated parking spaces, parking

is available on a first-come, first-served basis.

      58.       Patrons of businesses on Ms. Yount’s street use parking

spaces as do residents and their guests.

      59.       Ms. Yount’s home does not have any off-street parking. Even if

she could modify her yard so she could park there, it would be too far and

the terrain would be uneven to enable her to walk there from her house.

      60.       If Ms. Yount parks in front of her house, she must walk only a

short distance on a paved sidewalk so she can reach her car with much

less pain and difficulty than if she parked elsewhere.


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      61.   Without a designated, reserved, accessible parking space, Ms.

Yount might not be able to park in front of her home, resulting in her

inability to readily use her car for necessary travel so that she, her

husband, and her mother would be confined more in their home. In those

instances when using the car for travel is essential for Ms. Yount or her

family, she would have to endure significant pain to access it if she parked

farther away.

      B.    The Borough’s Streets and Parking
            Policies, Practices, and Procedures

      62.   The Borough owns and controls public streets within its

boundaries, including the streets in front of the Plaintiffs’ homes.

      63.   The Borough has enacted ordinances governing streets and

sidewalks within its jurisdiction, including excavation, maintenance and

repair, and sidewalk and curb construction. Borough of Conway

Ordinances, Ch. 104, 118.

      64.   The Borough has enacted ordinances governing streets and

parking on streets within its jurisdiction and enforces those ordinances.

Borough of Conway Ordinances, Ch. 118.

      65.   Unless parking spaces are otherwise designated, the Borough’s

policy and practice is to permit parking on residential streets on a first-

come, first-served basis.
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      66.   In 2011, the Borough adopted Ordinance 537 creating a

process by which residents could apply for and, if eligible for, secure

“restricted handicapped residential parking” permits. Borough of Conway

Ordinances § 118-19.1.

            a.    Under Ordinance 537, any Borough resident who had

been issued a disability license plate or placard by PennDOT designating

the individual as a person or veteran with a disability would be eligible for

the installation in front of the person’s residence a sign indicating that

parking in such space is restricted to vehicles bearing license plates or

placards for people with disabilities or severely disabled veterans. Id. §

118-19.1.A.

            b.    A person who desired a designated, reserved, accessible

parking space under Ordinance 537 was required to submit an application

to the Chief of Police of Conway. Id. § 118-19.1.A. The Ordinance

identified various factors that the Chief of Police was to consider in

assessing an application for a restricted parking permit, including: impact

on general safety; impact on traffic flow; impact on neighboring properties;

the nature of the applicant’s disability; and the availability to the applicant of

off-street, garage, or driveway parking. Id. § 118-19.1.C.




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            c.    Ordinance 537 provided that a restricted parking permit

was valid for 12 months, but could be renewed with submission of docu-

mentation by the applicant’s treating physician of his/her continuing

disability, the applicant’s continued use of the vehicle, and the applicant’s

ongoing residence at the same address. Id. § 118-19.1.D.

      67.   On December 21, 2016, the Borough enacted Ordinance 556

that repealed Ordinance 537 “in its entirety.”

      C.    Defendant’s Granting and Subsequent Rescission
            of Plaintiffs’ Requests for Designated, Reserved,
            Accessible Parking Spaces as Reasonable Modifications

      68.   In 2008, several years before the Borough enacted Ordinance

537, Plaintiff McLaughlin requested that the Borough designate a reserved,

accessible parking space in front of her home. At that time, the Borough

had no formal process to submit requests, so she verbally asked the Chief

of Police to designate the parking space.

      69.   In 2008, the Borough granted Ms. McLaughlin’s request and

installed a sign post to designate that the parking space in front of her

home is reserved for vehicles displaying a parking plate or placard for

persons with a disabilities or severely disabled veterans.




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      70.   Plaintiff Jacob requested that the Borough provide him with a

designated, reserved, accessible parking space in front of his home about

10 years ago.

      71.   The Borough granted Reverend Jacob’s request and installed a

sign post to designate that the parking space in front of his home is

reserved for vehicles displaying a parking plate or placard for persons with

disabilities or severely disabled veterans.

      72.   Several years ago, Plaintiff Steals requested that the Borough

provide her with a designated, reserved, accessible parking space in front

of her home.

      73.   The Borough granted Plaintiff Steals’ request and installed a

sign post to designate that the parking space in front of her home is

reserved for vehicles displaying a parking plate or placard for persons with

disabilities or severely disabled veterans.

      74.   Due to her disabilities, Plaintiff Boyer requested that the

Borough provide her with a designated, reserved, accessible parking space

in front of her home in September 2011.

      75.   The Borough granted Plaintiff Boyer’s request in September

2011, and installed a sign post to designate that the parking space in front




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of her home is reserved for vehicles displaying a parking plate or placard

for persons with disabilities or severely disabled veterans.

      76.   Due to her disabilities, Plaintiff Yount requested that Conway

Borough provide her with a designated, reserved, accessible parking space

in front of her home in or around 2011 or 2012.

      77.   The Borough granted Plaintiff Yount’s request in or around

2011 or 2012, and installed a sign post to designate that the parking space

in front of her home is reserved for vehicles displaying a parking plate or

placard for persons with disabilities or severely disabled veterans.

      78.   Plaintiffs have complied with any procedures that the Borough

has requested to renew and maintain the designated, reserved, accessible

parking spaces in front of their homes.

      79.   It is Plaintiffs’ understanding that the signs designating the

parking spaces in front of Plaintiffs’ homes as reserved for people with

disabilities can be used by any vehicle bearing a license plate or placard for

persons with disabilities or severely disabled veterans, but those

designated spaces have afforded them more opportunity to have access to

on-street parking near their home than they had before the signs were

installed and that they would have if the signs are removed.




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      80.   By letter dated January 24, 2017, approximately a month after

enactment of Ordinance 556, the Borough informed the Plaintiffs about the

enactment of Ordinance 556 repealing Ordinance 537. The letter advised

the Plaintiffs that restricted parking permits that were granted or renewed in

2016 would remain in place until “early April 2017, at which time the signs

will be removed and the curbs will be repainted.”

      81.   After that letter was written, the Borough indicated that it would

not remove existing signs designating the restricted accessible residential

parking spaces until June 1, 2017.

      82.   Plaintiffs’ counsel twice wrote to the Borough’s Solicitor,

advising her that the Borough’s policy not to permit residents to seek and

secure reasonable modifications in the form of designated, reserved,

accessible parking spaces in front of their homes violates Title II of the ADA

and asked that the Borough reconsider its policy. The Borough’s Solicitor

rejected Plaintiffs’ counsel’s requests.

      83.   Since the Borough installed the signs designating the parking

spaces in front of the Plaintiffs’ homes as reserved for people with

disabilities, Plaintiffs have not received any complaints from neighbors or

others.




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      84.   Plaintiffs still need designated, reserved, accessible residential

parking spaces in front of their homes due to their disabilities.

      85.   According to the Borough’s website, there were 2,290 residents

living in 988 households based on data from the 2000 Census.

      86.   On information and belief, there currently are only 12 desig-

nated, reserved, accessible parking spaces in the Borough.

      87.   It would not be a fundamental alteration for the Borough to

modify its “first-come, first-served” policy for parking on residential streets

by providing a designated, reserved, accessible parking space in front of

the Plaintiffs’ homes designated for use by anyone with a disability or

disabled veteran license plate or placard.

      88.   Plaintiffs will suffer irreparable harm if the Borough is permitted

to rescind the permits that authorize designated, reserved, accessible

parking spaces in front of their homes, to remove the signage designating

those reserved spaces, and to not continue to afford them reasonable

modifications of its first-come, first-served parking policy.

            a.    Without a designated, reserved, accessible parking

space, it will be much more difficult and painful for Ms. McLaughlin to park

in her garage, which will restrict her ability to travel and keep her more




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confined at home. As a result, she would need to consider moving from

her home of 42 years to somewhere that she could park more easily.

            b.    Without a designated, reserved, accessible parking

space, it will be much more difficult for Reverend Jacob to park near his

home. As a result, he will be unable to readily and safely use his car for

necessary travel and will be more confined to his home than he currently is.

            c.    Without a designated, reserved, accessible parking

space, it will be much more difficult for Ms. Steals to park near her home.

Ms. Steals must use her car to travel to work and for essential trips, such

as doctors’ appointments and grocery shopping, so the absence of a

designated parking space will mean that she must endure greater pain to

use her car for those necessary trips. Ms. Steals will not be able to readily

use her car for anything other than necessary trips, so that she will be more

confined in her home than she currently is.

            d.    Without a designated, reserved, accessible parking space

in front of her home, it will be much more difficult for Plaintiff Boyer to park

near her home. As a result, she will be unable to readily use her vehicle as

she does now. She cannot afford to retire and she needs her vehicle to

travel to work, and thus she will have to struggle, endure pain and swelling,

and risk falling, simply to reach her vehicle to continue to go to work.


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            e.     Without a designated, reserved, accessible parking space

in front of her home, it will be much more difficult for Plaintiff Yount to park

near her home. As a result, she will be unable to use her car for necessary

travel. She, her husband, and her mother will be more confined to their

home than they currently are. In those instances when use of the car is

essential for her, her husband, or her mother, Ms. Yount will have to

endure significant pain in order to access the car when it is parked farther

from her home.

V.    Claims

      89.   Paragraphs 1 through 88 are incorporated by reference.

      90.   Plaintiff McLaughlin has lymphedema and diabetes, physical

impairments that substantially limit her ability to walk, a major life activity,

and her endocrine and lymphatic system, major bodily functions. Ms.

McLaughlin is thus a person with a disability protected by the ADA. 42

U.S.C. §§ 12102(1)(A), 12102(2); 28 C.F.R. § 35.108.

      91.   Plaintiff Jacob has venous stasis, diabetes, and ulcers, physical

impairments that substantially limit his ability to walk, a major life activity,

and his endocrine and circulatory systems, major bodily functions.

Reverend Jacob is thus a person with a disability protected by the ADA. 42

U.S.C. §§ 12102(1)(A), 12102(2); 28 C.F.R. § 35.108.


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      92.   Plaintiff Steals has fibromyalgia, degenerative disc disease, and

arthritis, physical impairments that substantially limit her ability to walk, a

major life activity. 42 U.S.C. §§ 12102(1)(A), 12102(2); 28 C.F.R. § 35.108.

      93.   Plaintiff Boyer has arthritis in her back, spine, knees, and hips,

physical impairments that substantially limit her ability to walk, a major life

activity. 42 U.S.C. §§ 12102(1)(A), 12102((2); 28 C.F.R. § 35.108.

      94.   Plaintiff Yount has chronic back pain, sciatica, spinal stenosis,

neuropathy in her right foot and a history of herniated discs and dislocation

of her sacroiliac joint, physical impairments that substantially limit her ability

to walk, a major life activity. 42 U.S.C. §§ 12102(1)(A), 12102(2); 28

C.F.R. § 35.108.

      95.   Plaintiffs meet the eligibility requirements to participate in

Defendant’s residential on-street parking services and programs since they

live in the Borough. Therefore, they are qualified persons with disabilities

under the ADA. 42 U.S.C. § 12131(2).

      96.   Defendant Borough of Conway is a public entity required to

comply with Title II of the ADA. 42 U.S.C. § 12131(1)(A).

      97.   The ADA provides that “no qualified individual with a disability

shall, by reason of such disability, be excluded from participation in or be




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denied the benefits of services, programs, or activities of a public entity, or

be subjected to discrimination by any such entity.” 42 U.S.C. § 12132.

      98.   Defendant’s actions and omissions preclude Plaintiffs, by

reason of their disabilities, from participating in and receiving the benefits of

its on-street parking program, service, and activity in violation of 42 U.S.C.

§ 12132 and 28 C.F.R. §§ 35.130(a), 35.130(b)(1)(i)-(iii).

      99.   Defendant’s actions and omissions discriminate against

Plaintiffs on the basis of their disabilities by refusing to make and/or

continue to make a reasonable modification to its policies, practices, and

procedures necessary to avoid discrimination in violation of 42 U.S.C. §

12132 and 28 C.F.R. § 35.130(b)(7).

VI.   Relief Requested

      100. Plaintiffs respectfully request that the Court:

            a.    retain jurisdiction over this action;

            b.    declare that the Borough’s discriminatory actions violate

the ADA;

            c.    issue appropriate injunctive relief to enjoin the Borough

from violating the ADA and to take appropriate steps to remedy its

violations; and




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           d.    issue such other relief as may be just, equitable, and

appropriate, including an award of reasonable attorneys’ fees, litigation

expenses, and costs pursuant to 42 U.S.C. § 12205.


Dated: May 19, 2017                By:    /s/ Andrew Favini
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